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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  STANLEY HOBEREK,

                        Petitioner,

  v.
                                               Criminal Action No. 5:99CR13
                                               Civil Action No. 5:00CV184
  UNITED STATES OF AMERICA,                                  (JUDGE STAMP)

                        Respondent.


          REPORT AND RECOMMENDATION THAT PETITIONER’S MOTIONS
                    UNDER FED. R. CIV. P. 60(b)(4) BE DENIED

                                           I. Introduction

         Petitioner, Stanley Hoberek, was one of nine defendants in a 28 count indictment related to

  distribution of cocaine, marijuana and heroin returned February 3, 1999. Petitioner was convicted

  by a jury on Counts 1, 22, 23-24 on June 14, 1999 and sentenced to 324, 240 and 60 months

  imprisonment on those counts respectively on September 16, 1999. The United States Court of

  Appeals for the Fourth Circuit denied his direct appeal September 5, 2000.

         Petitioner filed his first motion under 28 U.S.C. § 2255 on October 25, 2000. The motion

  was denied April 11, 2002. Petitioner appealed and his appeal on his first § 2255 motion was denied

  by the Fourth Circuit August 2, 2002.

         Petitioner next filed a Rule 35 Motion for Correction of Illegal Sentence on October 14, 2003

  which was denied November 7, 2003. Petitioner appealed and the Fourth Circuit denied his appeal

  August 7, 2004.
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         Petitioner next filed a Motion for Reduction of Sentence Pursuant to 18 U.S.C. Section

  3582(c)(2) on March 4, 2005 which was denied June 22, 2005. Petitioner appealed and the Fourth

  Circuit denied his appeal December 7, 2005.

         Petitioner filed his second Motion to Vacate on December 14, 2005 which was denied

  October 22, 2007.

         Petitioner filed his third Motion to Vacate under 28 U.S.C. § 2255 on July 13, 2007 which

  was also denied October 22, 2007. Petitioner filed a Motion for Certificate of Appealability and

  Notice of Appeal October 31, 2007. Petitioner’s Motion for a Certificate of Appealability was

  denied November 1, 2007. The appeal was dismissed by the Fourth Circuit on May 20, 2008.

         Petitioner then filed the two motions under Fed. R. Civ. P. 60(b)(4)1 which are the subject

  of this recommendation.

         Petitioner’s first motion under 28 U.S.C. § 2255 was decided on the merits.

                                               II. Analysis

                                        The first 60(b)(4) Motion

         A.       Contentions of the Parties

                  Petitioner contends the Court lacked jurisdiction to “ . . . to issue the Judgment based

  on an amount of drugs not charged in the indictment, pleaded or proven to a jury, or admitted by the

  defendant.” Specifically Petitioner contends that the judgment against him was not final until

  November 11, 2000, which was five months after the decision in Apprendi v. New Jersey, 530 U.S.

  466(2000). Therefore, under Teague v. Lane, 489 U.S. 288(1989) the Rule of Non-Retroactivity

  is not applicable.


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             Doc. Nos. 513 and 517.

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                   The Government contends the issues presented in these motions are identical to the

  issues raised in Petitioner’s first § 2255 motion which was denied April 11, 2002 and subsequently

  affirmed by the Fourth Circuit. Therefore, it is the Government’s view that these motions constitute

  second or successive collateral review applications which are barred in the absence of certificate of

  appealability.

         B.        Discussion

                   In United States v. Winestock, 340 F.3d 200, 206 (4th Cir. 2003), the Court expressly

  held that District Court must treat Rule 60(b) motions as successive petitions if failing to do so

  would allow a petitioner to avoid AEDPA’s bar against relitigation of the same claim or litigation

  of claims not presented in the prior petition. The decision gave a guide to determine whether a Rule

  60(b) Motion was a true 60(b) motion or a disguised successive petition. A motion directly

  attacking a prisoner’s conviction would be a successive petition while a motion seeking review of

  an alleged defect in the review process would be a proper 60(b) motion. Id at 207.

                   There have been concerns raised by some that dicta in footnote 6 of Gonzalez v.

  Crosby, 545 U.S. 524 (2005) indicates a 60(b) motion is not barred as a successive petition when

  the original § 2255 motion was not decided on the merits. However, in this case petitioner’s first

  § 2255 motion was decided on the merits. In addition, petitioner has filed second and third § 2255's

  which have been dismissed.

                   Petitioner’s first 60(b) motion (Doc. No. 513) attacks his conviction claiming the

  amount of drugs for which he was sentenced was not contained in the indictment, pleaded and

  proven to a jury or admitted by the defendant. Petitioner also claims the District Court’s finding that

  the decision in Apprendi v. New Jersey, 530 U.S. 466 (2000) was not applicable to his case is in


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  error. Clearly, Petitioner is attacking his conviction and not alleging a defect in the review process.

  Under Winestock, this court must find what petitioner characterizes as a 60(b) motion as a

  successive petition and dismiss the same for lack of jurisdiction. Petitioner’s second 60(b) motion

  (Doc. No. 517) contains the same arguments as the first and is in reality a supplemental

  memorandum. Likewise, it attacks his conviction and must be dismissed as a successive petition

  which the Court has no jurisdiction to consider.

         C.      Recommendation

                 For the foregoing reasons, it is recommended that both motions captioned as motions

  under Fed. R. Civ. P. 60(b) be dismissed as successive petitions which the Court has no jurisdiction

  to consider.

         Any party who appears pro se and any counsel of record, as applicable, may, within ten (10)

  days from the date of this Report and Recommendation, file with the Clerk of the Court the written

  objections identifying the portions of the Report and Recommendation to which objection is made,

  and the basis for such objection. Failure to timely file objections to the Report and Recommendation

  set forth above will result in waiver of the right to appeal from a judgment of this Court based upon

  such Report and Recommendation.

         The Clerk of the Court is directed to provide a copy of this Report and Recommendation to

  parties who appear pro se and all counsel of record, as applicable, as provided in the Administrative

  Procedures for Electronic Case Filing in the United States District Court for the Northern District

  of West Virginia.




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        DATED: January 14, 2009


                                            /s/James E. Seibert
                                            JAMES E. SEIBERT
                                            UNITED STATES MAGISTRATE JUDGE




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